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                           BEFORE THE UNITED STATES
                  JUDICIAL PANEL ON MULTIDISTRICT LITIGATION

   IN RE: FTX Cryptocurrency Exchange                                 MDL Docket 3076
   Collapse Litigation


                     NOTICE OF POTENTIAL TAG-ALONG ACTIONS

        In accordance with Rule 7.1 (a) of the Rules of Procedure for the United States Judicial Panel

on Multidistrict Litigation, the undersigned counsel hereby notifies the Clerk of the JPML of the

potential tag along actions listed on the attached Schedule of Actions.

       Docket sheets and complaints are attached.

Dated: March 1, 2023                           Respectfully submitted,

                                                     By: /s/ Adam Moskowitz
                                                     Adam M. Moskowitz
                                                     Joseph M. Kaye
                                                     THE MOSKOWITZ LAW FIRM, PLLC
                                                     2 Alhambra Plaza, Suite 601
                                                     Coral Gables, FL 33134
                                                     Telephone: (305) 740-1423
                                                     adam@moskowitz-law.com
                                                     joseph@moskowitz-law.com

                                                     By: /s/ David Boies
                                                     David Boies
                                                     Alex Boies
                                                     Brooke Alexander
                                                     BOIES SCHILLER FLEXNER LLP
                                                     333 Main Street
                                                     Armonk, NY 10504
                                                     Phone: (914) 749–8200
                                                     dboies@bsfllp.com

                                                     By: /s/ Stephen Neal Zack
                                                     Stephen Neal Zack
                                                     BOIES SCHILLER FLEXNER LLP
                                                     100 SE 2nd St., Suite 2800
                                                     Miami, FL 33131
                                                     Office: 305-539-8400
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                            szack@bsfllp.com

                            By: /s/Jose M. Ferrer
                            Jose M. Ferrer
                            MARK MIGDAL & HAYDEN
                            80 S.W. 8th Street, Suite 1999
                            Miami, Florida 33130
                            Telephone: (305) 374-0440
                            jose@markmigdal.com
                            eservice@markmigdal.com

                            Co-Counsel for Petitioners, Edwin Garrison,
                            Gregg Podalsky, Skyler Lindeen, Alexander
                            Chernyavksy, Sunil Kavuri, Gary Gallant, and
                            David Nicol
